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                 UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNS\LVANIA

UNITED STATES OF AMERICA                No.3:23-CR'26

                                        (Judge MANNION)

CHRISTINA PATACKY-BEGHIN,               Filed Electronically
              Defendant.

                           PLEAAGREEMEI\TT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s). Penalties , and Dismissal of Other Counts

    1. Guilt plea. The de fendant agrees to plead guilty to Count 1 of
       the Indictment, which charges the defendant with a violation of

       Title 21, United States Code, $ 846, Conspiracy to Possess with

       Intent to Distribute and Distribution of Controlled Substances.

       The maximum penalty for that offense is imprisonment for a

       period of life but a mandatory minimum of 10 years, a fine of

       $10,000,000, a maximum term of supervised release of life but a
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   minimum of at least 5 years, which shall be served at the

   conclusion of, and in addition to, any term of imprisonment, as

   well as the costs of prosecution, imprisonment, probation, or

   superwised release ordered, denial ofcertain federal benefits,

   and an assessment in the amount of 9100. At the time the

   guilty plea is entered, the defendant shall admit to the Court

   that the defendant is, in fact, guilty ofthe offense(s) charged in

   that count. After sentencing, the United States will move for

   dismissal of any remaining counts of the Indictment. The

   defendant agrees, however, that the United States may, at its

   sole election, reinstate any dismissed charges, or seek additional

   charges, in the event that any guilty plea entered or sentence

   imposed pursuant to this Agreement is subsequently vacated,

   set aside, or invalidated by any court. The defendant further

   agrees to waive any defenses to reinstatement of any charges, or

   to the filing of additional charges, based upon laches, the

   assertion of speedy trial rights, any applicable statute of

   limitations, or any other ground. The calculation of time under
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   the Speedy Trial Act for when trial must commence is tolled as

   of the date of the defendant's signing of this Agreement, until

   either (a) the defendant pleads guiltyi or (b) a new date is set by

   the Court for commencement of trial.

2. Mandatorv Minimum Senten ce. Count 1 carries a mandatory
   minimum period of imprisonment of 10 years.

3. Term ofSupervised Release . The defendant understands that
   the Court must impose at least a 5-year term of supervised

   release but up to a lifetime of supervised release in addition to

   any term of imprisonment, fine or assessment involving this

   violation ofthe Controlled Substances Act. The defendant also

   understands that the Court may impose a term of supervised

   release following any sentence of imprisonment exceeding one

   year, or when required by statute. The Court may require a

   term ofsupervised release in any other case. In addition, the

   defendant understands that as a cond.ition of anv term of

   supervised release or probation, the Court must order that the



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       defendant cooperate in the collection of a DNA sample if the

       collection of a sample is so authorized by law.

B. Fines and Assessments
   4. Fine. The defendant understands that the Court may impose a
       fine pursuant to the Sentencing Reform Act of 1984. The willful

      failure to pay any fine imposed by the Court, in full, may be

      considered a breach of this Plea Agreement. Further, the

      defendant acknowledges that willful failure to pay the fine may

      subject the defendant to additional criminal violations and civil

      penalties pursuant to Title 18, United States Code, $ 8611, et

      seq.

   5. Inmate Financial Re sponsibilitv Progr am. If the Court orders a
      fine or restitution as part ofthe defendant's sentence, and the

      sentence includes a term of imprisonment, the defendant agrees

      to voluntarily enter the United States Bureau of prisons-

      administered program known as the Inmate Financial

      Responsibility Program, through which the Bureau of prisons

      will collect up to 50% of the defendant,s prison salary, and up to
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    50% of the balance of the defendant's inmate account, and apply

    that amount on the defendant's behalf to the payment of the

    outstanding fine and restitution orders.

6. Special Assess ment. The defendant understands that the Court
    will impose a special assessment of $100, pursuant to the

    provisions of Title 18, United States Code, g 3018. No later

    than the date ofsentencing, the defendant or defendant's

    counsel shall mail a check in payment of the special assessment

    directly to the Clerk, United States District Court, Middle

    District of Pennsylvania. If the defendant intentionally fails to

    make this payment, that failure may be treated as a breach of

    this Plea Agreement and may result in further prosecution, the

   filing of additional criminal charges, or a contempt citation.

7. Collection of Financial Oblis ations- In order to facilitate the
   collection of financial obligations imposed in connection with

   this case, the defendant consents and agrees:

   a   to fully disclose all assets in which the defendant has an

       interest or over which the defendant has control, directly or
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        indirectly, including those held by a spouse, nominee, or

        other third partyi

   b. to submit to interviews by the Government regarding the
       defendant's financial statusi

   c   to submit a complete, accurate, and truthful financial

       statement, on the form provided by the Government, to the

       United States Attorney's Office no later than 14 days

       following entry of the guilty pleai

   d. whether represented by counsel or not, to consent to contact
       by and communication with the Government, and to waive

       any prohibition against communication with a represented

       party by the Government regarding the defendant's

       financial statusi

   e. to authorize the Government to obtain the defendant's
       credit reports in order to evaluate the defendant,s ability to

       satisSr any financial obligations imposed by the Courti and

   f. to submit any financial information requested by the
       Probation Office as directed, and to the sharing of financial
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           information between the Government and the Probation

           Office.

C. Sentencins Guidelines Calculation
   8. Determination of Sentencine Guidelines. The defendant and
       counsel for both parties agree that the United States Sentencing

       Commission Guidelines, which took effect on November 7, 1g87,

       and its amendments (the "sentencing Guidelines"), will apply to

       the offense or offenses to which the defendant is pteading guilty.

       The defendant understands that the Sentencing Guidelines are

       advisory and not binding on the Court. The defendant further

       agrees that any legal and factual issues relating to the

       application of the Sentencing Guidelines to the defendant's

      conduct, including facts to support any specific offense

      characteristic or other enhancement or adjustment and the

      appropriate sentence within the statutory maximums provided

      for by law, will be determined by the Court after briefing, a pre-

      sentence hearing, or a sentencing hearing.



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9. AcceptanceofResoonsi bilitv- Two/Three Levels. If the
    defendant can adequately demonstrate recognition and

    affirmative acceptance of responsibility to the Government as

    required by the Sentencing Guidelines, the Government will

    recommend that the defendant receive a two- or three-level

    reduction in the defendant's offense level for acceptance of

   responsibility. The third level, if applicable, shall be within the

   discretion of the Government under U.S.S.G. $ 3E1.1. The

   failure ofthe Court to find that the defendant is entitled to a

   reduction shall not be a basis to void this Agreement.

10. Specific Sentencing Guidelines Recommendations. With respect

   to the application of the Sentencing Guidelines to the

   defendant's conduct, the parties agree to recommend as follows:

       a. For purposes of the U.S.S.G., the defendant is
          responsible for the distribution of, and possession
          with intent to distribute, at least 400 grams but
          Iess than 1.2 kilograms of fentanyl, a Schedule II
          controlled substance.




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    Each party reseryes the right to make whatever remaining

    arguments it deems appropriate with regard to application of

   the United States Sentencing Commission Guidelines to the

   defendant's conduct. The defendant understands that none of

   these recommendations is binding upon either the court or the

   United States Probation Office, which may make different

   findings as to the application of the Sentencing Guidelines to

   the defendant's conduct. The defendant further understands

   that the United States will provide the court and the United

   States Probation Office atl information in its possession that it

   deems relevant to the application of the Sentencing Guidelines

   to the defendant's conduct.

11. Appropriate Sentence Recommendation. At the time of

   sentencing, the United States may make a recommendation

   that it considers appropriate based upon the nature and

   circumstances of the case and the defendant,s participation in

   the offense, and specifically reserves the right to recommend a
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    sentence up to and including the maximum sentence of

    imprisonment and fine allowable, together with the cost of

    prosecution.

12. Special Conditi on s of Probation/Supervised Release. If

    probation or a term of supervised release is ordered, the United

    States may recommend that the Court impose one or more

    special conditions, including but not limited to the following:

    a   The defendant be prohibited from possessing a firearm or

        other dangerous weapon.

    b. The defendant make restitution, if applicable, the payment
        of which shall be in accordance with a schedule to be

        determined by the Court.

   c    The defendant pay any fine imposed in accordance with a

        schedule to be determined bv the Court.

   d    The defendant be prohibited from incurring new credit

        charges or opening additional lines of credit without

        approval ofthe Probation Office unless the defendant is in

        compliance with the payment schedule.
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        e   The defendant be directed to provide the Probation Office

            and the United States Attorney access to any requested

            financial information.

    f. The defendant be confined in a communitv treatment
            center, halfway house, or similar facility.

    g. The defendant be placed under home confinement.
    h. The defendant be ordered to perform community service.
    I.      The defendant be restricted from working in certain types of

            occupations or with certain individuals if the Government

            deems such restrictions to be appropriate.

    j.      The defendant be directed to attend substance abuse

            counseling, which may include testing to determine whether

            the defendant is using drugs or alcohol.

    k. The defendant be directed to attend psychiatric or
            psychological counseling and treatment in a program

            approved by the Probation Officer.

    I       The defendant be denied certain federal benefits including

            contracts, grants, loans, fellowships, and licenses.
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    m. The defendant be directed to pay any state or federal taxes
        and file any and aII state and federal tax returns as

        required by law.

13. Destruction OrderAilaivers. The defendant further agrees,

    should the United States deem it appropriate to the destruction

    of the items seized during the course of the investigation. The

    defendant agrees that the items may be destroyed by the

    investigative agency with or without a court order authorizing

    the destruction of the items seized. If the United States

    determines that a destruction order should be obtained, the

    defendant and defendant's counsel hereby concur in a motion for

    such an order. The defendant further agrees to waive all

    interest in the assets in any administrative or judicial forfeiture

    proceeding, whether criminal or civil, state, or federal. The

    defendant consents and waives all rights to compliance by the

    United States with any applicable deadlines under 1g U.S.C. S

    983(a). Any related administrative claim filed by the defendant

    is hereby withdrawn. The defendant agrees to consent to the
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       entry oforders offorfeiture for such property and waives the

       requirements of Federal Rules of Criminal Procedure 32.2 and,

       43(a) regarding notice ofthe forfeiture in the charging

       instrument, announcement of the forfeiture at sentencing, and

       incorporation of forfeiture in the judgment.

D. Victims'Rie hts and Restitution
   14. Victims'Rights. The defendant understands that pursuant to

       the Victim and Witness Protection Act. the Crime Victims'

       Rights Act, the Justice for All Act, and the regulations

       promulgated under those Acts by the Attorney General of the

       United States, crime victims have the following rights:

       a   The right to be reasonably protected from the accusedi

       b   The right to reasonable, accurate, and timely notice ofany

           public court proceeding or any parole proceed.ing involving

           the crime, or ofany release or escape ofthe accusedi

       c   The right not to be excluded from any such public court

           proceeding, unless the Court, after receiving clear and

           convincing evidence, determines that testimony by the
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        victim would be altered materially if the victim heard other

        testimony at that proceedingi

    d. The right to be reasonably heard at any public hearing in
        the Court involving release, plea, sentencing, or any parole

        proceeding. The defendant understands that the victims'

        comments and recommendations at any of these proceedings

        may be different than those of the parties to this

        Agreementi

    e. The reasonable right to confer with the attorney for the
        Government in the case. The defendant understands that

        the victims' opinions and recommendations given to the

        attorney for the Government may be different than those

        presented by the United States as a consequence ofthis

        Agreementi

    f. The right to full and timely restitution as provided for by
        law. The attorney for the Government is required to ,,fully

        advocate the rights of victims on the issue of restitution

        unless such advocacy would unduly prolong or complicate
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        the sentencing proceeding," and the Court is authorized to

        order restitution by the defendant including, but not limited

        to, restitution for property loss, economic loss, personal

        injury, or deathi

    g. The right to proceedings free from unreasonable delayi and
    h. The right to be treated with fairness and with respect for
        the victim's dignity and privacy.

15. Restitution. The defendant acknowledges that, pursuant to the

    Mandatory Restitution Act of April 24, 1996, Title 18, United

    States Code, $ 3663A, the Court is required in aII instances to

    order full restitution to all victims for the Iosses those victims

    have suffered as a result ofthe defendant's conduct. The

    defendant also agrees that the Government will seek, and the

    Court may impose an order of restitution as to victims of the

   defendant's relevant conduct. With respect to the payment of

   restitution, the defendant further agrees that, as part ofthe

   sentence in this matter, the defendant shall be responsible for

   making payment of restitution in full, unless the defendant can
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    demonstrate to the satisfaction ofthe Court that the defendant's

    economic circumstances do not allow for the payment of full

    restitution in the foreseeable future, in which case the

    defendant will be required to make partial restitution

    payments. In addition to the schedule of payments that may be

    established by the Court, the defendant understands and agrees

    that, pursuant to the Mandatory Victims Restitution Act of

    1996 and the Justice For AII Act of 2004, victims of federal

    crimes are entitled to full and timely restitution. As such, these

    payments do not preclude the Government from using other

    assets or income ofthe defendant to satisfy the restitution

    obligation. The defendant understands and agrees that the

    United States Attorney's Office, by and through the Financial

    Litigation Unit, has the obligation and the right to pursue any

    legal means, including but not limited to, submission of the debt

    to the Treasury Offset Program, to collect the full amount of

    restitution owed to the victims in a timely fashion. Although

    the defendant may reserve the right to contest the amount of
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    restitution owed, the defendant agrees to take all steps to

    facilitate collection of all restitution, including submitting to

    debtor's exams as directed by the Government. Towards this

    goal, the defendant agrees to waive any further notice of

    forfeiture and agrees that the United States may, at its sole

    election, elect to pursue civil or criminal forfeiture in the

    amount of the victim restitution owed in this case, and the

    Court may enter both a restitution order and a forfeiture

    judgment in the amount of any unpaid restitution found by the

    Court to be due and owing at the time of sentencing in this

    matter. The defendant consents to the filing of any civil

    complaint or superseding information which may be necessary

    to perfect a forfeiture order and further stipulates and agrees

    that the defendant's guilty plea constitutes an admission to all

    matters legally and factually necessary for entry ofa forfeiture

    order in this case. The parties agree that the Government will

    recommend, but cannot guarantee, that any assets recovered

    through forfeiture proceedings be remitted to crime victims to
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       reduce the defendant's restitution obligation in this case. The

       defendant acknowledges that the making of any payments does

       not preclude the Government from using other assets or income

       ofthe defendant to satisfy the restitution obligation. The

       defendant understands that the amount ofrestitution

       calculated for purposes of Chapter 5 of the Sentencing

       Guidelines might be different from the amount of loss calculated

       for purposes of Chapter 2 ofthe Sentencing Guidelines.

   16. FulI Restitution by Schedule. The defendant agrees to make

       full restitution in accordance with a schedule to be determined

       by the Court

E. Information Provided to Court and Probation Office
   17. Ba       und Information for Pro bation Office . The defendant

       understands that the United States will provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant,s

       background, character, cooperation, ifany, and involvement in

       this or other offenses.
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18. Obiections to Pre-Sentence Re port. Th e defendant understands

    that pursuant to the United States District Court for the Middle

    District of Pennsylvania's "Policy for Guideline Sentencing,"

    both the United States and defendant must communicate to the

    Probation Officer within 14 days after disclosure of the pre-

    sentence report any objections they may have as to material

    information, sentencing classifications, applicable Sentencing

    Guidelines ranges, and policy statements contained in or

    omitted from the report. The defendant agrees to meet with the

    United States at least five days prior to sentencing in a good

    faith attempt to resolve any substantive differences. If any

    issues remain unresolved, they shall be communicated to the

    Probation Officer for inclusion in an addendum to the pre-

    sentence report. The defendant agrees that unresolved

    substantive objections will be decided by the Court after

    briefing, a pre-sentence hearing, or at the sentencing hearing,

    where the standard or proofwill be a preponderance ofthe

    evidence, and the Federal Rules ofEvidence, other than with
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    respect to privileges, shall not apply under Fed. R. Evid.

    1101(d)(3), and the Court may consider any reliable evidence,

    including hearsay. Objections by the defendant to the pre'

    sentence report or the Court's rulings, will not be grounds for

    withdrawal of a plea of guilty.

19. Relevant Sentencing Information. At sentencing, the United

    States will be permitted to bring to the Court's attention, and

    the Court will be permitted to consider, all relevant information

    about the defendant's background, character and conduct,

    including the conduct that is the subject ofthe charges that the

    United States has agreed to dismiss, and the nature and extent

    of the defendant's cooperation, if any. The United States will be

   entitled to bring to the Court's attention and the Court will be

   entitled to consider any failure by the defendant to fulfill any

   obligation under this Agreement.

20. Non-Limitation on G overnment's Response. Nothing in this

   Agreement shall restrict or limit the nature or content of the

   United States' motions or responses to any motions filed on
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       behalf of the defendant. Nor does this Agreement in any way

       restrict the Government in responding to any request by the

       Court for briefing, argument or presentation ofevidence

      regarding the application of Sentencing Guidelines to the

      defendant's conduct, including but not limited to, requests for

      information concerning possible sentencing departures.

F. Court Not Bound by Plea Asreement
   21. Court Not Bound by Terms. The defendant understands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus. the

      Court is free to impose upon the defendant any sentence up to

      and including the maximum sentence of imprisonment for life, a

      maximum fine of $10,000,000, a maximum term of supervised

      release of life, which shall be served at the conclusion of and in

      addition to any term of imprisonment, the costs of prosecution,

      denial ofcertain federal benefits, and assessments totaling

      $100.



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   22. No Withdrawal of Plea Based on Sentence or Recommendations.

       If the Court imposes a sentence with which the defendant is

       dissatisfied, the defendant will not be permitted to withdraw

       any guilty plea for that reason alone, nor will the defendant be

       permitted to withdraw any guilty plea should the Court decline

       to follow any recommendations by any of the parties to this

       Ag:reement.

G. Breach of Plea Agreemen t bv Defendant
   23. Breach of Asreement. In the event the United States believes

       the defendant has failed to fulfill any obligation under this

       Agreement, then the United States shall, in its discretion, have

       the option ofpetitioning the Court to be relieved ofits

       obligations under this Agreement. Whether the defendant has

       completely fulfiIled all of the obligations under this Agreement

       shall be determined by the Court in an appropriate proceeding,

       during which any disclosures and documents provided by the

      defendant shall be admissible, and during which the United

      States shall be required to establish any breach by a
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    preponderance ofthe evidence. In order to establish any breach

    by the defendant, the United States is entitled to rely on

    statements and evidence given by the defendant during the

    cooperation phase of this Agreement, if any.

24. Remedies for Breach. The defendant and the United States

    agree that in the event the Court concludes that the defendant

    has breached the Agreement:

    a   The defendant will not be permitted to withdraw any guilty

        plea tendered under this Agreement and agrees not to

        petition for withdrawal of any guilty pleai

    b. The United States will be free to make any
        recommendations to the Court regarding sentencing in this

        case,

    C   Any evidence or statements made by the defendant during

        the cooperation phase of this Agreement, if any, will be

        admissible at any trials or sentencingsi

    d. The United States will be free to bring any other charges it
        has against the defendant, including any charges originally
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        brought against the defendant or which may have been

        under investigation at the time of the plea. The defendant

        waives and hereby agrees not to raise any defense to the

        reinstatement ofthese charges based upon collateral

        estoppel, Double Jeopardy, statute of limitations, assertion

        ofSpeedy Trial rights, or other similar grounds.

25. Violation of Law While Plea or Sentence Pendine. The

    defendant understands that it is a condition of this Agreement

    that the defendant refrain from any further violations ofstate,

    local, or federal law while awaiting plea and sentencing. The

    defendant acknowledges and agrees that if the Government

    receives information that the defendant has committed new

    crimes while awaiting plea or sentencing in this case, the

    Government may petition the Court and, if the Court finds by a

    preponderance ofthe evidence that the defendant has

    committed any other criminal offense while awaiting plea or

    sentencing, the Government shall be free at its sole election to

    either: (a) withdraw from this Agreementi or (b) make any
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       sentencing recommendations to the Court that it deems

       appropriate. The defendant further understands and agrees

      that, if the Court finds that the defendant has committed anv

      other offense while awaiting plea or sentencing, the defendant

      will not be permitted to withdraw any guilty pleas tendered

      pursuant to this Agreement, and the government will be

      permitted to bring any additional charges that it may have

      against the defendant.

H. De ortation
   26. Dep ortation/Removal fro m the United States. The defendant

      understands that, if defendant is not a United States cTtizen,

      deportation/removal from the United States is a consequence of

      this plea. The defendant further agrees that this matter has

      been discussed with counsel who has explained the immigration

      consequences ofthis plea. The defendant still desires to enter

      into this plea after having been so advised.




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I       eal Waiver

    27. Appeal Waiver - Direct. The defendant is aware that Title 28,

        United States Code, $ 1291 affords a defendant the right to

        appeal ajudgment ofconviction and sentencei and that Title 18,

        United States Code, $ 3742(a) affords a defendant the right to

        appeal the sentence imposed. Acknowledging all of this, the

        defendant knowingly waives the right to appeal the conviction

        and sentence. This waiver includes any and all possible

        grounds for appeal, whether constitutional or non-

        constitutional, including, but not limited to, the manner in

        which that sentence was determined in tight of United States v.

        Booker,543 U.S. 220 (200il. The defendant furrher

        acknowledges that this appeal waiver is binding only upon the

       defendant and that the United States retains its right to appeal

       in this case.

J. Other Provisions
    28. Aereement Not Bindins on Other Aeencies. Nothing in this

       Agreement shall bind any other United States Attorney,s Office,
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    state prosecutor's office, or federal, state, or local law

    enforcement agency.

29. No Civil Claims or Suits. The defendant agrees not to pursue or

    initiate any civil claims or suits against the United States of

    America, its agencies or employees, whether or not presently

    known to the defendant, arising out ofthe investigation,

    prosecution or cooperation, ifany, covered by this Agreement,

    including but not limited to any claims for attorney's fees and

    other litigation expenses arising out ofthe investigation and

    prosecution of this matter. By the defendant's guilty plea in

    this matter the defendant further acknowledges that the

    Government's position in this litigation was taken in good faith,

    had a substantial basis in law and fact and was not vexatious.

30. Plea Asreement Serves En ds ofJustice . The United States is

    entering this Agreement with the defendant because this

    disposition of the matter fairly and adequately addresses the

    gravity of the offense(s) from which the charge(s) is/are drawn,



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    as well as the defendant's role in such offense(s), thereby

    serving the ends ofjustice.

31. Mereer of A1l Prior Ne eotiations. This document states the

    complete and only Agreement between the United States

    Attorney for the Middle District of Pennsylvania and the

    defendant in this case, and is binding only on the parties to this

    Agreement and supersedes all prior understandings or plea

    offers, whether written or oral. This agreement cannot be

    modified other than in writing that is signed by all parties or on

    the record in court. No other promises or inducements have

   been or will be made to the defendant in connection with this

   case, nor have any predictions or threats been made in

   connection with this plea. Pursuant to Rule 11 of the Federal

   Rules of Criminal Procedure. the defendant certifies that the

   defendant's plea is knowing and voluntary and is not the result

   of force or threats or promises apart from those promises set

   forth in this Agreement.


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32. Defendant is Satisfied with Assistance of Counsel. Th e

    Defendant agrees that the defendant has discussed this case

    and this Agreement in detail with the defendant's attorney, who

    has advised the defendant ofthe defendant's Constitutional and

    other trial and appellate rights, the nature ofthe charges, the

    elements of the offenses the United States would have to prove

    at trial, the evidence the United States would present at such

    trial, possible defenses, the advisory Sentencing Guidelines and

    other aspects ofsentencing, potential losses ofcivil rights and

    privileges, and other potential consequences ofpleading guilty

    in this case. The defendant agrees that the defendant is

    satisfied with the legal services and advice provided to the

    defendant by the defendant's attorney.

33. Deadline for Acceptance of Plea Asreement. The original of this

    Agreement must be signed by the defendant and defense

    counsel and received by the United States Attorney,s Office on

    or before 5:00 p.m., December B,2O2B, otherwise the offer may,

    in the sole discretion of the Government, be deemed withdrawn.
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         34. Reouired Sienatures' None of
                                             the terms of this Agreement shall

                                                              Attorney for the
              be binding on the OIfice of the United States

                                                                  the defendant
              Middle District of Pennsylvania until signed by

              and defense counsel and then signed by the United
                                                                     States

              Attorney or his designee'



                              ACKNOWLEDGMENTSI

           I have read this agreement and carefully reviewed every part of it
      with my attorney. I fully understand it and I voluntarily agree to it'
                                                   )    n                     -/\-'
       ;lls/JoP                                                        l.

      Date                                CHRISTI NAPATACKY. BEGHIN
                                          Defendant


             I am the defendant's counsel. I have carefully reviewed every part
      of this agree ment with the defendant. To my knowledge, my client's
      decision to enter into this agree ment is an informed and voluntary one.

          lt 27                            N_)
       D te                               DAVID G        BERG, ESQUIRE
                                          Counsel for Defendant




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                                      GERARD M. KARAM
                                      United States Attorney

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   1<^            ZOZ3         By:          z
Date                                  MICHELLE OLSHEF
                                      Assistant United States Attorney

MLO/2O231W0O26 June 29, 2023
VERSION DATE: March 8, 2021




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